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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )          2:10-CR-287-GMN-(VCF)
                                                        )
11    LANCE KELLOW,                                     )
                                                        )
12                          Defendant.                  )

13                                       ORDER OF FORFEITURE

14            On March 1, 2013, defendant LANCE KELLOW was found guilty of Counts One through

15    Four and Count Six of a Six-Count Second Superseding Criminal Indictment charging him in Count

16    One with Conspiracy to Commit Mail Fraud and Wire Fraud in violation of Title 18, United States

17    Code, Sections 1341, 1343, and 1349; and in Counts Two through Four with Wire Fraud in violation

18    of Title 18, United States Code, Section 1343; and in Count Six with Bank Fraud in violation of Title

19    18, United States Code, Section 1344; and is subject to the forfeiture of property set forth in the

20    Forfeiture Allegations in the Second Superseding Criminal Indictment. Second Superseding

21    Indictment, ECF No. 92.

22            This Court finds that LANCE KELLOW shall pay a criminal forfeiture money judgment of

23    $1,349,500.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

24    P. 32.2(b)(1) and (2), Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

25    Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A).

26    ...
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 1            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2    States recover from LANCE KELLOW a criminal forfeiture money judgment in the amount of

 3    $1,349,500.00 in United States Currency.

 4           DATED  this______
             DATED this  5th dayday
                                 of of
                                    March,  2013.
                                       __________________, 2013.

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 6                                                 ________________________________
                                                   Gloria M. Navarro
 7                                                 United States District Judge
 8
                                                 UNITED STATES DISTRICT JUDGE
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